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   Attorneys for Defendants Alyssa Depke and Lyssa Fregoso
11
                       IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE DISTRICT OF ARIZONA
13
14 Justin Stein, et al.,                             NO. 4:20-cv-00102-JCH
15                                Plaintiffs,
                                                     MOTION FOR JUDGMENT AS A
16 vs.
                                                     MATTER OF LAW
17 Alyssa Depke, et al.,
18                                Defendants.        (Assigned to Hon. John C. Hinderaker)
19
20             Defendants Alyssa Depke and Lyssa Fregoso (“Defendants”) move this Court for
21 judgment as a matter of law pursuant to Federal Rule of Civil Procedure 50(a).
22
          I.      Facts Established at Trial.
23
24                   a. Justin Stein testified at this trial that they refused services. Jacqueline
                        Stein testified she didn’t know, and Justin Stein didn’t tell her. Lynn
25                      Saturley and Chris Hall testified the Steins refused services and they told
                        that to Defendants.
26
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                                    1                    b. The Steins and Chris Hall testified at trial that the Steins would place COS
                                                            in his room for long periods of time and that he could not get out himself.
                                    2                       Jackie Stein testified that the Steins would leave COS in his room for up to
                                    3                       an hour. Cross-examination of Jacqueline Stein, p. 46, ll.5-11. Chris Hall
                                                            testified he told this to Defendants.
                                    4
                                                         c. The Steins testified at this trial that Justin Stein and Jacqueline Stein
                                    5                       requested removal, and that they were not willing to have COS return to
                                                            their home until noon on October 11, 2019. Justin testified that they called
                                    6                       DCS to report a neglect case on themselves and that he wanted DCS to
                                                            remove COS. Justin Stein testified he wanted to sign the Temporary
                                    7
                                                            Custody Notice.
                                    8
                                                         d. The PPH Report includes the information that the Steins changed their
                                    9                       minds about COS returning to their home when there was no placement
                                                            for him available and that they requested services as an alternative to
                                   10                       removal.
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                                   11                    e. At the PPH, the Juvenile Court admitted the PPH report to evidence. PPH
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                                                            Minute Entry, Ex. 1., p. 1.
                                   12
                                                         f. Prior to conducting the Temporary Custody Hearing and PPH on October
                                   13                       17, 2019, the Juvenile Court reviewed the PPH Report and entered a
                                   14                       judicial finding that the report made a prima facie case/established
                                                            probable cause that temporary custody was clearly necessary. Ex. 2.
                                   15                       Preliminary Protective Hearing Transcript, p.101 ; See also Ex. 1 p.4
                                   16       II.      Legal Argument
                                   17
                                                  “If a party has been fully heard on an issue during a jury trial and the court finds that
                                   18
                                        a reasonable jury would not have a legally sufficient evidentiary basis to find for the party
                                   19
                                        on that issue, the court may” “resolve the issue against the party.” Fed. R. Civ. P.
                                   20
                                        50(a)(1)(A). The movant “must either produce evidence negating an essential element of
                                   21
                                        the nonmoving party’s claim or defense or show that the nonmoving party does not have
                                   22
                                        enough evidence of an essential element to carry its ultimate burden of persuasion at trial.”
                                   23
                                        Nissan Fire & Marine Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1102 (9th Cir.
                                   24
                                   25
                                        1
                                          Defendants move the Court to take judicial notice of the findings set forth in the
                                        preliminary protective hearing transcript pursuant to Fed.R.Evid.201(b)(2).
                                                                                       2
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                                    1 2000). Here, the Court should grant judgement as a matter of law in Defendants’ favor
                                    2 because the evidence unequivocally demonstrates Plaintiffs cannot meet the elements of a
                                    3 judicial deception claim; that is, they cannot show that Defendants recklessly or deliberately
                                    4 made misrepresentations or omissions that were material to any decisions made by the
                                    5 Juvenile Court. Chism v. Washington State, 661 F.3d 380, 386 (9th Cir. 2011); see also
                                    6 Benavidez v. Cnty. of San Diego, 993 F.3d 1134, 1148 (9th Cir. 2021)(an “alleged
                                    7 misrepresentation was material to the granting of the removal order if the Juvenile Court
                                    8 would have declined to issue the order had the defendant been truthful.”)(cleaned up).
                                    9
                                                      a. The evidence unequivocally shows all the alleged misrepresentations
                                   10                    were clearly facts provided to them by Caren Jablonsky, Chris Hall &
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                                                         Lynn Saturley
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                                                In its April 22 Order on Defendants Motions in Limine, the Court summarized the
                                   12
                                        misrepresentations Plaintiffs contend Defendants included in the dependency petition filed
                                   13
                                        on October 11, 2019 and the court report filed on October 16, 2019 as follows: “(1) The
                                   14
                                        parents failed to accept or secure necessary medical and social services for C.S. that were
                                   15
                                        made available to them; (2) father locked2 C.S. in the bedroom there alone when he would
                                   16
                                        have ‘behavior outbursts’; and (3) both parents were unwilling to care for C.S. in their
                                   17
                                        home and asked DCS to take custody of him.” ECF 198, p. 2, ll. 9-14. But as described
                                   18
                                        above, Plaintiffs’ testimony at trial, and other evidence, unequivocally indicates that all
                                   19
                                        three of these representations were not “fabricated” and instead were clearly based upon
                                   20
                                        facts provided to them. The Steins testified that they were unwilling to have COS back until
                                   21
                                        at least noon on Friday, October 11. Caren Jablonsky, Chris Hall & Lynn Saturley all
                                   22
                                        testified they gave information to Defendants regarding the Steins’ refusal of services. Chris
                                   23
                                        Hall testified that he provided information to Defendants about COS being locked in his
                                   24
                                   25   2
                                         To the extent plaintiffs object to the word “lock,” “mere carelessness or mistakes of tone”
                                        do not give rise to claims for judicial deception. Spencer v. Peters, 857 F.3d 789, 798 (9th Cir.
                                        2017)
                                                                                         3
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                                    1 room.3 And, although it was also established at trial that the information provided by these
                                    2 three witnesses was true and accurate, Defendants need only establish that that they did not
                                    3 fabricate it.
                                    4
                                                      b. The evidence unequivocally shows that any omissions from the
                                    5                    Dependency Petition were not material to the Juvenile Court’s
                                                         decision to authorize DCS to maintain custody of COS.
                                    6
                                              The October 11 Dependency Petition alleged both that COS was dependent and that
                                    7
                                        it was contrary to his welfare to remain in his parents’ home. A.R.S. § 8-821(B) allows the
                                    8
                                        Juvenile Court to “issue an order authorizing [DCS] to take temporary custody of a child on
                                    9
                                        finding that probable cause exists to believe that temporary custody is necessary.” The
                                   10
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                                        Juvenile Court issued such an order on October 17, 2019, indicating that it did find probable
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                                        cause to believe that temporary custody was necessary, even after review of the report
                                   12
                                        which included the purported omissions in the petition.
                                   13
                                   14         This Court observed in its Order on Defendants Motion for Summary Judgement that

                                   15 “the Juvenile Court based its order on a single fact: that the Steins were unwilling to care
                                   16 for C.S. By neglecting to mention that the Steins had asked for C.S. back, Depke and
                                   17 Fregoso omitted ‘the dispositive fact.’” ECF 112, p. 12, ll. 2-5. The evidence shows (and
                                   18 this Court observed) that Defendants included this information, as well as information that
                                   19 the Steins requested immediate 24/7 respite care, a psychiatric evaluation, and medication
                                   20 as an alternative to removal, in the PPH report. Even so, the Juvenile Court found that the
                                   21 report established “probable cause” that temporary custody was clearly necessary. In its
                                   22 Order on the Motion to Dismiss, the Court speculated that it was because that information
                                   23 was included in the PPH report that the Juvenile Court determined that temporary custody
                                   24 was not clearly necessary. ECF 34, p. 19, ll. 19-20.
                                   25


                                                                                      4
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                                    1          But the Juvenile Court record unambiguously shows that those omissions were not
                                    2 material to the temporary orders and that inclusions of that information did not cause the
                                    3 Juvenile Court to find that temporary custody was clearly necessary. As described above the
                                    4 Juvenile Court admitted the PPH report into evidence at the PPH. During the PPH, the
                                    5 Juvenile Court held a temporary custody hearing at the parents’ request. Prior to any
                                    6 testimony being offered, counsel for Father requested the court to make a probable cause
                                    7 finding, based on the PPH Report. The Juvenile Court judge did so, stating that she had
                                    8 reviewed the PPH report and finding that it established a prima facie case that continued
                                    9 temporary custody was necessary. The alleged omissions therefore could not have been
                                   10 material to the ex parte order because its inclusion in the PPH report did not change the
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                                   11 Juvenile Court’s even when that information was included in the report, the Court found
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                                   12 that probable cause existed to believe that temporary custody was clearly necessary.
                                   13
                                                      c. Plaintiffs raised no evidence indicating that any alleged
                                   14                    misrepresentations or omissions caused any constitutional deprivation
                                                         to continue after October 17, 2019 (Renewal of MIL 7)
                                   15
                                               To succeed on a claim for judicial deception, Plaintiffs must demonstrate that the
                                   16
                                        allegedly deceptive act was both the cause in fact and proximate cause of the claimed
                                   17
                                        constitutional deprivation. Spencer v. Peters, 857 F.3d 789, 798 (9th Cir. 2017). A judge’s
                                   18
                                        “exercise of independent judgment in the course of his official duties is a presumptively
                                   19
                                        superseding cause, which cuts off [Defendant’s] liability.” Suzuki v. Cnty. Of Contra Costa,
                                   20
                                        820 F. App’x 577, 578 (9th Cir. 2020). As the Court observed in its April 22 Order on
                                   21
                                        Defendants’ Motions in Limine, the judge at the preliminary protective hearing reviewed
                                   22
                                        not only the PPH report, but also received direct testimony, cross examination testimony,
                                   23
                                        and evidence from all parties. ECF 198, pp. 6-7; ll. 17-2.
                                   24
                                   25          Plaintiffs therefore must put forth some evidence that something occurred at that
                                        hearing to prevent the judge either from receiving or properly considering the information
                                                                                     5
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                                    1 they now allege to be misrepresented or omitted. They do not – indeed, Plaintiffs objected
                                    2 to Defendants offering it into evidence at trial. Plaintiffs therefore cannot prove that any
                                    3 misrepresentations or omissions proximally caused any constitutional deprivation to result
                                    4 from the PPH. And Plaintiffs’ argument that the Temporary Orders remained effect after the
                                    5 PPH is wrong as a matter of Arizona law. See Dep't of Child Safety v. Stocking-Tate in &
                                    6 for Cnty. of Yuma, 446 P.3d 813, 819 (Ariz. App. 2019) (holding that when parents request
                                    7 a review of temporary custody at the PPH, the PPH order renders the ex parte order
                                    8 ineffective). See also Defendants’ Trial Brief re: Preliminary Protective Hearing.
                                    9
                                                       d. Judgment on punitive damages claim
                                   10
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                                   11            Plaintiffs have failed to introduce any evidence at all indicating that Defendants’
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                                   12 conduct was “aggravated and outrageous” or “the action of a reprehensible character” as
                                   13 required to support a claim for punitive damages. Linthicum v. Nationwide Life Ins. Co.,
                                   14 723 P.2d 675, 680 (1986). Therefore, this Court should enter judgment as a matter of law
                                   15 against Plaintiffs on their punitive damages claim.
                                   16     III.      Conclusion
                                   17            Because the evidence incontrovertibly shows that Defendants did not make any
                                   18 material misrepresentations or omissions in the Dependency Petition or PPH report,
                                   19 Defendants request that the Court enter a judgment as a matter of law in their favor and
                                   20 against the Plaintiffs on their single claim. In the alternative, Defendants request that the
                                   21 Court enter a judgment as a matter of law that Plaintiffs may not claim damages for any
                                   22 alleged constitutional violations that occurred after October 17 because they have failed to
                                   23 demonstrate that anything prevented the Juvenile Court from exercising its independent
                                   24 judgment at the PPH and thus cutting off Defendants’ liability. See Suzuki v. Cnty. Of
                                   25 Contra Costa. Defendants also request in the alternative that the Court enter judgment as a


                                                                                       6
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                                    1 matter of law that Plaintiffs are not entitled to punitive damages because they have
                                    2 presented no evidence of wanton and malicious conduct.
                                    3         DATED this 30th day of April, 2024.
                                    4                                           RUSING LOPEZ & LIZARDI, P.L.L.C.

                                    5
                                                                                /s/ Patricia V. Waterkotte
                                    6                                                Michael J. Rusing
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                                                                                     Alyssa Depke and Lyssa Fregoso
                                    9
                                   10                               CERTIFICATE OF SERVICE
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                                              I hereby certify that a copy of the foregoing was served this 30th day of April, 2024
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                                                                                     7
